USDC IN/ND case 1:14-cr-00035-HAB-SLC              document 109       filed 03/09/15     page 1 of 1


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION


 UNITED STATES OF AMERICA                      )
                                               )
          v.                                   )             CASE NO.: 1:14-CR-35-TLS
                                               )
 VICTOR BOYER                                  )


                ORDER ACCEPTING FINDINGS AND RECOMMENDATION

          This matter is before the Court on the Findings and Recommendation of the United States

 Magistrate Judge [ECF No. 91], filed on February 20, 2015. The Defendant has waived objection

 to the Findings and Recommendation, and the Court, being duly advised, adopts the Findings

 and Recommendation [ECF No. 91] in its entirety and accepts the recommended disposition.

 Subject to this Court’s consideration of the Plea Agreement pursuant to Federal Rule of Criminal

 Procedure 11(c), the plea of guilty to the offenses charged in Counts 1 and 2 of the Indictment is

 hereby accepted, and the Defendant is adjudged guilty of such offenses.

          The notice of sentencing and pre-sentence scheduling deadlines will be issued by separate

 order.

          SO ORDERED on March 9, 2015.

                                               s/ Theresa L. Springmann
                                               THERESA L. SPRINGMANN
                                               UNITED STATES DISTRICT COURT
